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                           IN THE UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF KANSAS

 ELIZABETH DIAL,

              Plaintiff,

              v.                                             Case No. 21-1071-KHV-ADM

 DEPARTMENT OF VETERANS AFFAIRS,

              Defendant.


                                MEMORANDUM AND ORDER

       This matter comes before the court on intervenor Dashaun McCray’s Motion to Modify

Protective Order.     (ECF 174.)   By way of the motion, McCray asks the court to modify the

protective order (ECF 16) to allow her to use documents produced in this case by defendant

Department of Veterans Affairs (“the VA”) in her pending case against the VA, McCray v.

McDonough, D. Kan. Case No. 22-2154-DDC-ADM (“McCray”).                  As explained below, the

motion is denied. It asks the court to change the most fundamental term of the protective order—

that documents exchanged may only be used in this litigation—to ameliorate McCray’s failure to

timely pursue discovery in McCray. The court will not condone such gamesmanship.

       However, the court sua sponte modifies the protective order to hold in abeyance plaintiff

Elizabeth Dial’s obligation to return or destroy VA-produced documents until the court decides

discovery disputes in McCray. Should the court determine that McCray, who is represented by

the same counsel as Dial, is entitled to certain documents from the VA, then Federal Rule of Civil

Procedure 1’s directive to ensure the “just, speedy, and inexpensive determination of every action”

may be supported by allowing McCray to access and use the documents already in her counsel’s

possession.

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I.      BACKGROUND

        Dial v. VA

        On March 18, 2021, Dial filed this action against her former employer, the VA, alleging

that it discriminated against her on the basis of race (African American), maintained a hostile work

environment, retaliated against her, and constructively discharged her in violation of Title VII of

the Civil Rights Act of 1964, 42 U.S.C. § 2000e et seq.     Dial’s complaint largely centered on the

actions of her former supervisor at the VA, Ruth Duda.       According to Dial, Duda systematically

discriminated against Dial and other black females and “engaged in a pattern or practice of

demeaning and degrading behavior.”       (ECF 1, at 2.)

        To help facilitate discovery, the parties agreed to a protective order, which the court entered

on October 28, 2021. (ECF 16.) The protective order’s central tenet, as set forth in its opening

paragraph, was that confidential information disclosed in discovery would be “protected from

disclosure outside this litigation, and used only for purposes of prosecuting or defending this action

and any appeals.”       (Id. at 1.)   The parties specifically limited disclosure of confidential

information to the parties and their retained agents or witnesses in “this litigation.” (Id. at 4.)

Discovery commenced, and the VA produced documents it designated as confidential under the

protective order.    As relevant to the present motion, the VA produced “664 pages comprised of

investigations of other employee complaints of discrimination at the Robert J. Dole VA Medical

Center in Wichita, Kansas” and “Transcript and Notes of Ruth Duda.”         (ECF 174, at 6.)

        On November 29, 2022, the court dismissed part of Dial’s disparate-treatment claim, but

otherwise denied the VA’s motion for summary judgment. (ECF 96.) On February 3, 2023, Dial

and the VA informed the court that they had reached a settlement, and the court closed this case.

(ECF 135.)

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       McCray v. VA

       Meanwhile, Dial’s attorneys filed a similar lawsuit against the VA on behalf of Dial’s

former co-worker, McCray.      That lawsuit was filed on April 22, 2022, so the case schedule in the

McCray case trailed behind the Dial case.     Like Dial, McCray alleged that the VA discriminated

against her on the basis of race (African American), maintained a hostile work environment,

retaliated against her and constructively discharged her in violation of Title VII of the Civil Rights

Act of 1964, 42 U.S.C. § 2000e et seq.    McCray had worked at the same VA location as Dial, and

Duda was also her supervisor.     McCray’s complaint asserted similar abuses by Duda, including

that Duda usurped her authority, overloaded McCray with work, generally berated McCray, and

retaliated against McCray for complaining about race discrimination.

       On October 21, 2022, McCray served her first request for production of documents

(“RFPs”) on the VA.     (McCray, ECF 25.) After the VA requested and received an extension of

time from McCray to respond, the VA served its response to these RFPs on January 9, 2023.

(McCray, ECF 47.)      In doing so, the VA objected to (among other things) producing certain

documents that it had previously produced in Dial.      McCray did not challenge the objections or

otherwise move to compel further responses.

       On January 12, the court dismissed McCray’s hostile-work-environment and constructive-

discharge claims, but allowed McCray’s disparate-treatment and retaliation claims to proceed.

(McCray, ECF 51.)

       On March 6, McCray served her first interrogatories.      (McCray, ECF 80.) After the VA

requested and received an extension of time from McCray to respond, the VA served its responses

to these interrogatories on April 20. (McCray, ECF 85, 90.) Again, the VA’s response to the



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interrogatories asserted a number of objections.       And, again, McCray did not challenge the

objections or otherwise move to compel further responses.

        On March 3, McCray served her second RFPs on the VA. (McCray, ECF 79.) The VA

again requested and received an extension of time from McCray to respond to these RFPs—this

time, an extension of time to May 18, which was the day before discovery ended.      (McCray, ECF

85, 95.)   When the VA served its response to the second RFPs, the VA again took a different

approach than it had in the Dial case by asserting a number of objections to producing certain

documents that it had previously produced in Dial.

        On June 20, the court convened a pretrial conference in the McCray case. (McCray, ECF

104.)   During the conference, McCray asserted that discovery was not yet complete because she

was still pursuing additional discovery from the VA.     Upon questioning, however, she conceded

that she had waived her opportunity to seek fuller responses to her first set of RFPs and

interrogatories under the 30-day rule set forth in D. KAN. RULE 37.1(c). As a result, the only

remaining discovery dispute in McCray is the extent to which the VA must produce additional

documents in response to McCray’s second RFPs.         The court directed the parties to further meet

and confer in an attempt to resolve or at least narrow this dispute, and set deadlines to tee up the

dispute for court resolution at the reconvened pretrial conference if necessary.   (Id. at 2.)

        McCray’s Intervention in Dial

        Meanwhile, while discovery was still ongoing in the McCray case, the parties agreed to

settle the Dial case. On February 14, the VA sent Dial’s counsel an email reminder that, under

the protective order, counsel was obliged to return or destroy confidential documents the VA

produced in discovery.     (ECF 174-5.)     Dial’s counsel responded that they “still need these

documents for McCray so we are not inclined to return them.”       (Id.)   The VA replied that same

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day that it would not agree to any modification of the protective order. (Id.) McCray then waited

until March 21 before filing a motion to reopen this case “so that she [could] file a Motion to

Intervene and a Motion to Modify the Agreed Protective Order.” (ECF 167, at 1.) The court

granted the motion to reopen on April 14 (ECF 170) and, that same day, McCray filed a motion to

intervene in Dial for the limited purpose of seeking to modify the protective order. (ECF 171.)

       On May 25, the court granted McCray’s motion to intervene.              (ECF 173.)    The court

determined that McCray satisfied the relatively low standard for permissive intervention, given

that her claims against the VA share common questions of law or fact with Dial—specifically, that

“McCray and [Dial] worked under Duda at the same VA location and alleged that Duda took

similar adverse actions against them based on race.”    (Id. at 3.)    The court specifically noted that

it was only deciding the question of intervention, not whether McCray was entitled to discover or

access documents subject to the protective order.      (Id. at 3-4.)    McCray then filed the present

motion to modify the protective order.    (ECF 174.)

       II.     LEGAL STANDARDS

       The parties agree that the court retains the power to modify the protective order in this

closed case. See United Nuclear Corp. v. Cranford Ins. Co., 905 F.2d 1424, 1427 (10th Cir. 1990)

(“As long as a protective order remains in effect, the court that entered the order retains the power

to modify it, even if the underlying suit has been dismissed.”). In United Nuclear, the Tenth

Circuit recognized that stipulated protective orders are “standard practice in complex cases” that

promote efficient and complete discovery between the parties because of the assurances of

confidentiality. Id.   The Court noted, however, that “when a collateral litigant seeks access to

discovery produced under a protective order, there is a countervailing efficiency consideration—

saving time and effort in the collateral case by avoiding duplicative discovery.” Id. at 1428.       In

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balancing these two considerations, the Tenth Circuit adopted the following standard from the

Seventh Circuit:

                 Where an appropriate modification of a protective order can place
                 private litigants in a position they would otherwise reach only after
                 repetition of another=s discovery, such modification can be denied
                 only where it would tangibly prejudice substantial rights of the party
                 opposing modification. Once such prejudice is demonstrated,
                 however, the district court has broad discretion in judging whether
                 that injury outweighs the benefits of any possible modification of
                 the protective order.

Id. (quoting Wilk v. American Medical Assoc, 635 F.2d 1295, 1299 (7th Cir. 1980) (emphasis

added)).     The Court warned that “discovery may not be used merely to subvert limitations on

discovery in another proceeding and a collateral litigant has no right to obtain discovery materials

that are privileged or otherwise immune from eventual involuntary discovery in the collateral

litigation.” Id. (quoting Wilk, 635 F.2d at 1300 (internal quotation and modification omitted)).

Ultimately, “modification of a protective order, like its original entry, is left to the discretion of

the district court.” Id. at 1427.

          III.   ANALYSIS

          McCray’s motion to modify the protective order is not what it seems at first glance. On

the surface, the motion asks the court to modify Paragraph 10(b), which requires McCray’s counsel

to return or destroy the VA’s confidential documents within 30 days of settlement. (ECF 16 ¶

10(b).)     McCray asks the court to add language to this paragraph stating that a party may retain

confidential documents until such time as collateral litigation concludes. (ECF 174, at 10.)      But

then, McCray’s motion goes on to state that such modification would allow McCray to “use

documents produced in this action in the collateral action.” (Id. at 2 (emphasis added).) Thus,

McCray does not simply seek permission for her counsel to retain the documents the VA produced


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in Dial, but also seeks a determination that she may use the documents in McCray.          So, as a

practical matter, McCray actually seeks to modify the protective order’s central tenet prohibiting

use of produced documents for any purpose other than “prosecuting or defending this action and

any appeals.”   (ECF 16, at 1.)   The court denies this request on multiple grounds.

        First, McCray counsel’s attempt to lay blame on the VA for the current predicament is not

well taken. When counsel negotiated the protective order in this case, they included the rather

standard language that documents produced thereunder were only to be used in “this litigation.”

(Id. at 4.) But now, McCray’s current motion seems to insist that McCray’s counsel, for some

unexplained reason, is entitled to take that language to mean something other than what it plainly

says.   Specifically, McCray’s counsel apparently wants to simply ignore that provision and use

the documents in related litigation.    The court will not condone this after-the-fact approach.

Counsel who foresee wanting to use documents in a related case should raise this issue with

opposing counsel (and/or the court, if necessary) early on in the litigation. The solution is not to

lure a party into producing documents while relying on a protective order in the first case, then

plan to violate the protective order and count on the court to rescue counsel in that endeavor.   A

party who produces documents subject to a protective order is entitled to rely on the order’s basic

tenet that the documents will not be used outside the litigation, absent a showing of good cause to

modify that particular term.   See Brigham Young Univ. v. Pfizer, Inc., 281 F.R.D. 507, 510 (D.

Utah 2012) (“The party seeking to modify a protective order bears the burden of showing good

cause for the modification. . . . Reliance on protective orders and the diligence of counsel in

observing them is fundamental to litigation between competitors.” (internal quotation and citation

omitted)). McCray has not made such a showing.



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         Second, McCray is seeking to modify the protective order for the inappropriate reason that

the Tenth Circuit in United Nuclear specifically warned against: “to subvert limitations on

discovery in another proceeding.”       905 F.2d at 1428.       McCray’s current motion asserts

atmospheric-type arguments to the effect that, in McCray, the VA’s counsel inappropriately

obstructed the discovery process by asserting discovery objections. (ECF 174, at 6; ECF 182, at

5.)    McCray attempts to cast the VA in a negative light simply because it produced certain

documents in Dial but lodged objections to producing the same or similar categories of documents

in McCray. The two cases admittedly bear some overlap, inasmuch as Duda was the supervisor

at issue in each.   But a defendant is entitled to take a different approach to discovery in two

different cases, particularly where, as here, they involve different substantive claims and discovery

logistics.   The proper vehicle for McCray to have addressed any such arguably improper

discovery objections would have been via discovery motion practice in McCray.

         Instead of following the appropriate channels to secure discovery, however, McCray

moved to modify the protective order in Dial to circumvent her failure to timely raise discovery

disputes in the McCray case.     As discussed above, McCray failed to timely challenge the VA’s

objections to her first RFPs and interrogatories.     In fact, her counsel admitted at the pretrial

conference in McCray that he was unaware of D. KAN. RULE 37.1(c)’s 30-day time limit to raise

such challenges.    As a result, McCray is out of time to enforce responses to her initial discovery

in McCray and instead seeks to obtain the discovery via Dial. United Nuclear expressly prohibits

this work-around.    905 F.2d at 1428. See also CHARLES ALAN WRIGHT, ET AL., 8A FED. PRAC.

& PROC. CIV. § 2044.1 (3d ed., April 2023 update) (“If the limitation on discovery in the collateral

litigation would be substantially subverted by allowing access to discovery material under a

protective order, the court should be inclined to deny modification.”).

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        Third, the same 30-day deadline that McCray missed in McCray also operates as a

procedural bar to the current motion. McCray says she first became aware of the need to seek

modification of the Dial protective order on February 14, when the VA’s counsel requested return

or destruction of documents produced in Dial. (ECF 182, at 3.)            But McCray did not file her

motion to reopen Dial for purposes of seeking a modification of the protective order until March

21.   Again, this is beyond the 30-day time deadline, and she provides no explanation for her delay.

        Finally, the Tenth Circuit has distinguished between modifying a protective order to grant

a collateral litigant access to discovery material and ruling that the collateral litigant is entitled to

use the material in the collateral case. While a district court may grant Aaccess to discovery under

its protective order, >questions of the discoverability in the collateral litigation of the materials

discovered in this litigation are, of course, for the collateral courts.’” United Nuclear, 905 F.2d

at 1428 (emphasis added) (quoting Superior Oil Co. v. American Petrofina Co., 785 F.2d 130, 130

(5th Cir. 1986) (modifications to quotation omitted)).      Thus, in this case, the court will not grant

McCray’s request to allow her to use VA documents produced in this case in McCray.

        Instead, the court will follow the appropriate procedural path and address the VA’s

discovery obligations to McCray in the McCray case, not in this case.             As explained above,

although McCray has waived her opportunity to pursue the VA’s responses to her first set of RFPs

and interrogatories, it remains an open question whether the VA must produce documents in

response to McCray’s second RFPs.        But the discoverability of those materials is an issue for the

court to resolve in the McCray case, not in this case.    To the extent that the court determines that

McCray is entitled to discovery of documents in the McCray case, it may further the “just, speedy,

and inexpensive determination” of the McCray case, FED. R. CIV. P. 1, to allow McCray to use

documents that are already in her counsels’ possession because the VA previously produced them

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in Dial. For this reason, the court modifies the protective order sua sponte. Paragraph 10(b) of

the protective order currently requires McCray’s counsel to return or destroy the VA’s confidential

documents “within 30 days after this litigation concludes by settlement, final judgement, or final

order.”1 (ECF 16 ¶ 10(b).) This provision is hereby modified to add the following sentence to

the end of the paragraph: “Any obligation under this paragraph is held in abeyance until 30 days

after the court rules discovery disputes in McCray.” Meanwhile, to be clear, McCray’s counsel

is bound by the protective order provision prohibiting use of any and all documents produced in

the Dial case—a case that is now closed. (ECF 16, at 1.)

       IT IS THEREFORE ORDERED that McCray’s Motion to Modify Protective Order

(ECF 174) is denied.

       IT IS FURTHER ORDERED that Paragraph 10(b) of the protective order is modified

to hold in abeyance Dial’s obligation to return or destroy VA-produced documents until 30 days

after the court rules discovery disputes in McCray.

       Dated July 12, 2023, at Kansas City, Kansas.

                                                              s/ Angel D. Mitchell
                                                              Angel D. Mitchell
                                                              U.S. Magistrate Judge




       1
         It is not lost on the court that this is the protective-order provision that McCray’s motion
ostensibly sought to modify.
